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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA

         v.                                         Case No. 24 Cr. 82 (RMB)

 KEONNE RODRIGUEZ and
 WILLIAM LONERGAN HILL

                        Defendants.


        DEFENDANT WILLIAM LONERGAN HILL’S MOTION TO SUPPRESS
          EVIDENCE OBTAINED THROUGH THE SEIZURE AND SEARCH
              OF HIS STORED ELECTRONIC COMMUNICATIONS

       PLEASE TAKE NOTICE that upon the (i) Declaration of Matthew L. Mazur, dated May

29, 2025, together with the exhibits attached thereto, and (ii) the accompanying Memorandum of

Law, Defendant William Lonergan Hill, by and through the undersigned counsel, hereby moves

this Court, before the Honorable Richard M. Berman, United States District Court for the Southern

District of New York, 500 Pearl Street, New York, New York 10007-1312, for an order, pursuant

to the Fourth Amendment of the United States Constitution, suppressing evidence obtained from

the government’s seizure and search of William Lonergan Hill’s personal Gmail account data, as

well as any and all fruits of the unlawful seizure and search, and an order, pursuant to Fed. R.

Crim. P. 41(g), for the return or destruction of any data that has not been identified as responsive

to The Warrant.

       PLEASE TAKE FURTHER NOTICE that, pursuant to the Court’s April 29, 2025 Order

(ECF No. 85), the Government’s response must be filed by June 26, 2025.
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Dated: May 29, 2025            Respectfully submitted,

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